Case 1:16-cr-00037-PLM         ECF No. 301, PageID.519          Filed 04/05/16       Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

              Plaintiff,                                   Hon. Janet T. Neff

 v.                                                        Case No. 1:16-cr-0037

 JOSEPH JEREMY JOHNSON,

            Defendant.
 _________________________________/


                                              ORDER


       Defendant appeared before me on April 5, 2016, with appointed counsel for a detention

hearing under the Bail Reform Act of 1984, 18 U.S.C. § 3142(f). Defendant is currently

incarcerated at the MDOC and is here on a Federal Writ of Habeas Corpus Ad Prosequendum. On

the basis of the Writ, IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending trial. Defendant may bring the issue of his continuing detention to the court’s

attention should his circumstances change.

       DONE AND ORDERED this 5th day of April, 2016.

                                                     /s/ Phillip J. Green
                                                    PHILLIP J. GREEN
                                                    United States Magistrate Judge
